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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MINNESOTA
                             FIFTH DIVISION

RICKY HUGHES,                         )
                                      )
            Plaintiff,                )
      v.                              )     No. 19-cv-02733-DWF-LIB
                                      )
WISCONSIN CENTRAL, LTD.,              )
PORTACO, INC. and RACINE              )     Honorable Donovan W. Frank
RAILROAD PRODUCTS, INC.,              )
                                      )     Judge Presiding
            Defendants.               )


                         CERTIFICATE OF COMPLIANCE

     The undersigned, on behalf of the Plaintiff, RICKY HUGHES, certified as

follows:

      1.    The Plaintiff’s Memorandum in Opposition to Racine Railroad

Products, Inc’s Motion for Summary Judgment was prepared using Microsoft

Word. It complies with the word limits and type-size limits of LR 7.1.

      2.    The word count for the motion totals 2,284.

      3.    The undersigned certifies that the word processing software creating

the word count included all text, hearings, footnotes and quotations.

Dated: November 18, 2024



                                      Respectfully submitted,

                                      By: /s/ Michael B. Gunzburg
                                      MICHAEL B. GUNZBURG
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